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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                           CENTRAL DIVISION


IN RE POLARITYTE, INC. SECURITIES                        ORDER GRANTING STIPULATED
LITIGATION,                                              JOINT MOTION TO STAY ORDER
                                                         REQUIRING LEAD PLAINTIFF TO
THIS DOCUMENT RELATES TO:                                   FILE MOTION FOR CLASS
All Actions                                                     CERTIFICATION

                                                          Case No. 2:18-cv-00510-JNP-PMW
                                                        (Consolidated with 2:18-cv-00541-JNP)

                                                             District Judge Jill N. Parrish
                                                        Chief Magistrate Judge Paul M. Warner


        Before the court is the parties’ Stipulated Joint Motion to Stay Order Requiring Lead

Plaintiff to File Motion For Class Certification. For the reasons set forth in the motion, and for

good cause appearing, the court GRANTS the motion, and IT IS HEREBY ORDERED:

        1.       Lead Plaintiff shall not file a motion for class certification unless and until the

action proceeds beyond a motion to dismiss; and

        2.       In the event that the action proceeds beyond a motion to dismiss, the Parties will

meet and confer regarding a case schedule within thirty (30) days after an order denying a

motion to dismiss, in whole or in part, has been issued, including the time for a motion for class

certification.

        DATED this 19th day of February, 2019.

                                                BY THE COURT:



                                                PAUL M. WARNER
                                                Chief United States Magistrate Judge
